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                          UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF MISSISSIPPI
                               ABERDEEN DIVISION

WILL McRANEY

        PLAINTIFF

V.                                                                    No. 1:17cv080-GHD-DAS

THE NORTH AMERICAN MISSION BOARD
OF THE SOUTHERN BAPTIST CONVENTION, INC.

        DEFENDANT


      NON-PARTY BAPTIST CONVENTION OF MARYLAND/DELAWARE, INC.’S
         MEMORANDUM OF LAW IN SUPPORT OF ITS MOTION TO SEAL

        The Court is familiar with the procedural and factual history concerning non-party Baptist

Convention of Maryland/Delaware, Inc. (“BCMD”)’s connection to this litigation and the claims

asserted, so it will not be repeated here. That said, it has always been BCMD’s position that the

internal decisions it made concerning Plaintiff’s employment were confidential personnel matters

that were guided by religious and ecclesiastical considerations.   And the Court has previously

agreed. See Order [Doc. 129] (finding “BCMD’s internal employment practices and management

decisions” “is private and confidential” “and that the public’s interest in such information is

outweighed by BCMD’s”). See generally Mot. to Seal [Doc. 126]. BCMD again seeks this relief

regarding a document submitted by Defendant North American Mission Board of the Southern

Baptist Convention, Inc. (“NAMB”) as an exhibit to its Motion for Summary Judgment that

includes private and confidential information regarding BCMD’s internal employment practices

and management decisions, specifically the decision-making process that led to Plaintiff’s

separation. In particular, Exhibit 13 to NAMB’s Motion for Summary Judgment [Doc. 263-14]

are minutes of a special meeting of BCMD’s General Mission Board, its governing body, held for
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the specific purpose of discussing and debating the decision that led to Plaintiff’s separation. The

minutes include quotes and summaries of statements and testimony given by board members and

BCMD leadership who spoke at the meeting. As the Court has already found in response to a

similar request, BCMD’s interest in maintaining the privacy and confidentiality of these statements

and testimonials greatly outweighs the public’s interest in having access to the statements and

testimony.

        For these reasons, as more fully set forth below, BCMD respectfully requests that its

Motion be granted and that those portions of Exhibit 13 that contains confidential statements and

testimony of board members and BCMD leadership be filed under seal and that NAMB be directed

to file a redacted version of Exhibit 13 as well as a redacted version of its memorandum, redacting

references to the sealed portions of the exhibit.




                                              ARGUMENT
A.      STANDARD OF REVIEW

        In Smith v. Corr. Corp. of Am., LLC, No. 4:16-CV-59-DMB-JMV, 2017 U.S. Dist. LEXIS

23037 (N.D. Miss. 2017), the Court articulated the standards applicable to a request to seal court

filings stating:

                   In considering whether to grant a motion to seal, there is a
                   "presumption in favor of the public's access to judicial records," and
                   the decision whether to order judicial records sealed is committed to
                   the sound discretion of the district court, which must "balance the
                   public's common-law right of access against the interests favoring
                   nondisclosure." SEC v. Van Waeyenberghe, 990 F.2d 845, 848-49
                   (5th Cir. 1993).

Id. at *3. The decision to seal records is analyzed on a case-by-case basis and is left to the sound

discretion of the court. See Belo Broad Corp v. Clark, 654 F.2d 423, 430 (5th Cir. 1981). Courts

have granted requests to seal exhibits to a dispositive motion where the balancing test weighs in


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favor of the moving parties’ interest in having the document sealed. See e.g. Smith, 2017 U.S. Dist.

LEXIS at *4 (holding that there were sufficient grounds to seal a report of a company’s internal

investigation where the report contains matters unavailable to the public and the public’s interest

is outweighed by the company’s interest in preserving confidentiality of internal personnel

matters).

B.      EXHIBIT 13 TO NAMB’S MOTION FOR SUMMARY JUDGMENT CONTAINS
        PRIVATE AND CONFIDENTIAL INFORMATION THAT SHOULD BE SEALED
        FROM PUBLIC ACCESS.
        Exhibit 13 to NAMB’s Motion for Summary Judgment contains private and confidential

information that should be sealed. For that reasons, the Court should afford the private and

confidential information the same protection it afforded Exhibits A and B to NAMB’s Motion for

Reconsideration. See generally Order [Doc. 129] (granting a motion to seal); Mot. to Seal [Doc.

126].

        Exhibit 13 are the General Mission Board (“GMB”) Meeting Minutes of a special meeting

held for the specific purpose of discussing and debating the decision that led to Plaintiff’s

separation. The minutes include quotes and summaries of statements and testimony made by board

members and BCMD leadership who spoke at the meeting. Given the nature of the meeting and

the nature of the issues discussed, the statements and testimony were made for the purpose of

assisting the GMB in making a private personnel decision guided by religious and ecclesiastical

considerations. The statements are not made available to the public, are known only to those who

were present at the meeting, and BCMD has great interests in maintaining the privacy and

confidentiality of the statements.

        As the Fifth Circuit noted in Whole Women’s Health where disclosure of documents

relating to the internal matters of a religious organization was at issue, there is a real concern that

disclosure of a religious organization’s internal decision-making regarding organizational matters


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could have a chilling effect on a religious organization’s freedom to govern itself based on its

religious beliefs. The Court stated:

               As for the free speech, free association, and petition claims
               under the First Amendment, the district court failed to afford
               sufficient scope to rights that should protect the inner workings
               of TCCB when it engages in activity in the public square. The
               district court seemed to limit the associational rights to the "chilling"
               of membership and tangible harassment. In Perry, however, the
               Ninth Circuit squarely considered these rights and exempted from
               discovery the internal communications of a citizens' group that was
               supporting California Prop 8 (opposing gay marriage). 591 F.3d at
               1165. The court understood that communications within such a
               group must be permitted to be broad, uninhibited, and fearless, and
               that protecting such deliberations is a seminal aspect of the freedom
               to associate.

               Perry, to be sure, recognized a qualified privilege based on Supreme
               Court precedent. See Perry, 591 F.3d at 1155-56; Flanagan v.
               United States, 465 U.S. 259, 267-68 104 S. Ct. 1051, 1055-57, 79
               L. Ed. 2d 288 (1984); Gibson v. Fla. Legislative Investigation
               Comm., 372 U.S. 539, 557 83 S. Ct. 889, 899, 9 L. Ed. 2d 929
               (1963). That balancing approach reconciles Perry with cases like
               Ambassador College v. Geotzke, which was a fraud case against a
               religious college, and United States v. Holmes, which held religious
               groups may be subject to government inquiries to maintain tax
               exempt status.

               Contrary to the district court, however, the explanation of how
               TCCB's activities—and the activities of any other religious
               institution forced to endure similar discovery—are "chilled" by
               enforcement of this subpoena seems self-evident. As TCCB
               describes, in addition to the significant cost of complying with the
               original subpoena (100 work hours and over $20,000 in attorney's
               fees), TCCB has delayed and missed ministry opportunities;
               suffered in relationships with other Catholic ministries whose
               communications it was forced to disclose; was required to cancel
               internal ministry reports and training materials; TCCB bishops and
               staff were discouraged from engaging in other public policy
               activities; and Texas Catholic cemeteries were deterred from
               participating in the fetal remains registry. TCCB's ability to
               conduct frank internal dialogue and deliberations was
               undermined, and not only because enforcement of the subpoena
               inhibits the further use of email communications. Why the
               district court found "chilling" but not "severe" its discovery



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               order's impact on TCCB's internal email communications, in
               this era of instant group communication, is hard to fathom. Even
               more disturbing, this discovery order forces TCCB to turn over to a
               public policy opponent its internal communications, setting a
               precedent that may be replicated in litigation anywhere.

Whole Woman's Health v. Smith, 896 F.3d 362, 372-74 (5th Cir. 2018) (emphasis added).

       Here, this same concern regarding a chilling effect on the ability of religious organizations

to manage their internal affairs caused by disclosure of internal communications and discussions

regarding private and confidential organizational matters may be addressed by sealing those

portions of the minutes that quote or paraphrase statements or testimony given by members of the

GMB and leadership of BCMD at the meeting.

       The public’s interest in this information is greatly outweighed by BCMD’s interest in

preserving the confidentiality and privacy of this information. And, there is more than reasonable

basis for this Court to partially seal this exhibit by redacting those statements and testimony and

any references in NAMB’s memorandum that references those portions of the minutes that are to

be sealed. See e.g. Smith, 2017 U.S. Dist. LEXIS at *4 (holding that there were sufficient grounds

to seal a report of a company’s internal investigation where the report contains matters unavailable

to the public and the public’s interest is outweighed by the company’s interest in preserving

confidentiality of internal personnel matters).

       To be clear, BCMD is not seeking to seal the entire exhibit, but rather only those portions

of the minutes that quote or paraphrase statements or testimony given by members of the GMB

and BCMD leadership at the meeting. Attached, as Exhibit A to the Motion, is a redacted version

of Exhibit 13 that reflects redactions of those portions of the minutes BCMD submits should be

redacted. Limiting the redactions to only those portions of the minutes that quote or paraphrase




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statements or testimony given by board members and BCMD leadership balances the public’s right

to inspect the minutes while also protecting the privacy interests of BCMD.

       Moreover, BCMD requests that the portions of NAMB’s Memorandum in Support of its

Motion for Summary Judgment that references and quotes these redacted portions of Exhibit 13

also be redacted. In particular, the redacted portions of Exhibit 13 are referenced and quoted on

pages 14 and 15 of the Memorandum. Those references should be sealed, and the Court should

require NAMB to file a redacted version of its Memorandum.



                                         CONCLUSION
       The information contained in Exhibit 13 to NAMB’s Motion for Summary Judgment is the

same type of private and confidential information relating to BCMD’s confidential and internal

personnel decisions that the Court has already sealed. There are clear and compelling reasons for

partially sealing this exhibit, and so BCMD requests that the Court seal the portions of Exhibit 13

that are redacted in Exhibit A to the Motion, as well as those portions of NAMB’s Memorandum

(at pages 14-15) that references those redacted portions of Exhibit A. BCMD requests that the

Court order that those redacted portions be sealed indefinitely.

       BMCD also requests that NAMB be directed to file a redacted version of Exhibit 13

consistent with Exhibit A to this Motion, as well as a redacted version of its Memorandum that

references the redacted portions of Exhibit 13.

       BCMD also requests that both the non-redacted version of Exhibit 13 filed with NAMB’s

Motion for Summary Judgment [Doc. 263-14] and the non-redacted Memorandum referencing

those portions of Exhibit 13 sought to sealed be sealed from public access only, with CM/ECF

access permitted to the litigant’s counsel. Sealing from any access by the litigant’s counsel is

unnecessary as the litigants are aware of the private and confidential information contained in the


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Exhibits. Sealing from public access in CM/ECF but making the Exhibits available for public

viewing via terminals within the Clerk’s office will not maintain the private and confidential nature

of the redacted information contained in the Exhibits.



                                      Respectfully submitted,

                                      BAPTIST CONVENTION OF
                                      MARYLAND/DELAWARE

                                      By Its Attorneys,

                                      /s/ Adam Stone
                                      __________________________
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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 19th day of May, 2023, a copy of the foregoing Motion

was served electronically on all counsel of record via the Court’s ECF system.


                                      /s/ Eric W. Gunderson
                                      __________________________________
                                      Eric W. Gunderson, Pro Hac Vice



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